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              Exhibit C
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                                                     U.S. Patent No. 7,066,865: Kickr (Claims 16, 18-22, and 24)

           Claim 16                             Analysis                                                               Select Evidence
An apparatus for simulating           The Kickr is an apparatus that
forces and movement of a human        simulates the forces and
subject during a physical activity,   movement of a human riding a
comprising:                           bicycle.




                                                                       Source: http://www.wahoofitness.com/devices/kickr.html



a base                                The Kickr has a base.




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a movable member mounted to         The “Freehub Module” of the
the base, the movable member        Kickr, which is mounted to the
defining a velocity and receiving   base, is moveable when the user
an input force applied to the       applies an input force to the
                                                                        Freehub
movable member by a human           Freehub Module by pedaling her
                                                                        Module
subject;                            bike, which moves the chain
                                    attached to the cassette, which
                                    spins the Freehub Module.

                                    The Kickr has a Strain Gauge
                                    that measures the input force, as
                                    shown in detail below.




                                                                              Optical Encoder




                                    When the Freehub Module spins,
                                    it defines a velocity by means of
                                    the optical encoder on the
                                    Freehub Module.




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a force-generating device          The Kickr’s “Resistance
operably coupled to the movable    Module” is a force-generating
member and applying a resistance   device that is operably coupled
force to the movable member;       to the Freehub Module by means
                                   of a belt.




                                                                       Resistance Module
                                                                                           Belt




                                   The Resistance Module contains
                                   an electromagnetic brake that
                                   applies a resistance force to the
                                   Freehub Module via the belt.




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a sensor configured to provide a     The Kickr has two sensors:
signal corresponding to at least
one of the velocity of the movable   Optical Encoder: provides a
member and an input force            signal corresponding to the
applied to the movable member        velocity of the Freehub Module.
by a human subject; and
                                     Strain Gauge: provides a signal                                                        Optical Encoder
                                     corresponding to the input force
                                     applied to the Freehub Module.
                                                                                                                              Strain Gauge




                                                                        Source: http://support.wahoofitness.com/hc/en-us/articles/204281794-How-when-do-I-perform-a-spindown-calibration-




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a controller configured to control    Wahoo provides apps that can be
the resistance force applied to the   used to communicate with the
movable member by the force-          Kickr via ANT+ or Bluetooth.
generating device based, at least
in part, on a signal provided by      The Kickr transmits a signal to
the sensor and a haptic equation      the app corresponding to the
incorporating an equation of          current velocity and/or force
motion of a human subject             applied by the user (measured by
performing the physical activity      the Optical Encoder and/or the
being simulated.                      Strain Gauge respectively). The
                                      app utilizes an equation of
                                      motion regarding the motion of a
                                      user pedaling a bicycle. For
                                      example:
                                      P=Fv (Power = Force x Velocity)
                                      The app inputs the variables of
                                      force and velocity into the
                                      equation to determine the
                                      necessary resistance required to
                                      simulate the experience of riding
                                      a bicycle normally: “you can
                                      enter your weight, bike type,
                                                                          Source: http://support.wahoofitness.com/hc/en-us/articles/204281764-What-are-the-different-modes-the-KICKR-has-
                                      riding position, headwind and
                                      grade and the KICKR will
                                      accurately model the power
                                      curve just as if YOU were riding
                                      outdoors.”

                                      The app communicates the
                                      determined resistance to the
                                      Kickr’s controller, which is
                                      configured to control the
                                      resistance applied to the Freehub
                                      Module by the
                                      Resistance Module’s
                                      electromagnetic brake.




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            Claim 18                            Analysis                                                                Select Evidence
The apparatus of claim 16,           The Kickr uses an equation
wherein:                             relating to the measured velocity
the haptic equation relates the      and the measured force over a
velocity to a time integral of the   time to determine power. For
force.                               example the Kickr uses the
                                     equation P=Fv (wherein the
                                     values of F and v are determined
                                     by the Kickr). The Kickr uses
                                     the haptic equation to determine
                                     Power.

                                                                         Source: http://www.wahoofitness.com/devices/wahoo-kickr-powertrainer-10speed.html



            Claim 19                            Analysis                                                                Select Evidence
The apparatus of claim 16,           The Kickr uses an equation
wherein:                             relating a measured velocity to
the haptic equation relates the      the square of the velocity to
velocity to a time integral of a     determine the drag effect of
square of the velocity.              wind speed, for example:


                                     Execution of the haptic equation
                                     allows the controller to control
                                     the resistance applied to the
                                     Freehub Module by the
                                     Resistance Module’s
                                     electromagnetic brake, to
                                     accurately replicate the power
                                     that would be required as if the
                                     user were riding her bicycle
                                     actually affected by the wind
                                     speed.




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            Claim 20                              Analysis                                Select Evidence
The apparatus of claim 16,             The Kickr includes a belt, which
including:                             is a restraint adapted to react to
a restraint adapted to react a force   force applied the user.
applied by a human subject.




            Claim 21                              Analysis                                Select Evidence
The apparatus of claim 20,             The Kickr includes a strain
wherein:                               gauge, which determines the
the sensor determines a force          force applied to the belt via the
applied to the restraint.              Freehub Module.




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            Claim 22                             Analysis                                                                  Select Evidence
The apparatus of claim 16,            The Kickr’s Resistance Module
wherein:                              includes an electromagnetic
the force-generating device           brake.
comprises a brake.




            Claim 24                             Analysis                                                                  Select Evidence
The apparatus of claim 16,            The Kickr calculates a target
wherein:                              input force and/or target velocity
the controller calculates at least    based on the user-inputted
one of a target input force and a     factors, including weight, bike
target velocity utilizing a haptic    type, riding position, headwind
equation of motion and controls       and grade, and controls the
the force-generating device based     Resistance Module to create the
on at least one of the target input   resistance necessary to achieve
force and a target velocity.          the target input force and/or
                                      target velocity.



                                                                           Source: http://www.wahoofitness.com/devices/kickr.html




     4843-4768-5416, v. 4




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